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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION



TYLER GISCHEL,                                 Case Number: 1:17-cv-00475

          Plaintiff,                           Dlott, J.; Bowman, M.J.

        v.

UNIVERSITY OF CINCINNATI, et al.,               ORDER

          Defendants.

      Pursuant to S. D. Ohio Civ. R. 16.3(a)(1) and the Court’s Supplemental

Procedures for Alternate Dispute Resolution, this matter is hereby REFERRED to the

docket of Magistrate Judge Karen L. Litkovitz for purposes of conducting a settlement

conference.     The parties shall contact Magistrate Judge Litkovitz’s chambers at

(513) 564-7690 to arrange a future date for the settlement conference to be held.

      SO ORDERED.



                                    s/Stephanie K. Bowman
                                    Stephanie K. Bowman
                                    United States Magistrate Judge
